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                                     #:2090


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 9                      IN THE UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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13   JEFF T. GRANGE, M.D.,                         5:22-cv-00340 DSF (AGRx)
14                                    Plaintiff, ORDER GRANTING
                                                 STIPULATION FOR COURT TO
15                v.                             CONTINUE TO RETAIN
                                                 JURISDICTION OVER MATTER
16
     LORI POZUELOS AND JASON                   Courtroom: 7D
17   WESSELY,                                  Judge:        The Honorable Dale S.
                                                             Fischer
18                                 Defendants. Trial Date: Vacated
                                               Action Filed: 2/24/2022
19
20        GOOD CAUSE HAVING BEEN SHOWN:
21        The Court extends its jurisdiction over this matter to vacate its January 22,
22   2025 Order Dismissing Case Due to Settlement (document number 79) and to
23   reopen the action upon a showing of good cause that the settlement has not been
24   completed and further proceedings are necessary. The Court will retain jurisdiction
25   over this matter until May 7, 2025, or until a stipulation for dismissal with prejudice
26   is filed, whichever occurs earlier.
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                                  #:2091


 1   IT IS SO ORDERED.
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 3   Dated: March 21, 2025             ____________________________
                                            Dale S. Fischer
 4                                          United States District Judge
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